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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

UNITED STATES OF AMERICA,
                                                  CR-15-85-GF-BMM
                Plaintiff,
      vs.

DAVID LEE ARMITAGE,                                      ORDER

                Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on January 8, 2021. (Doc. 64.)

      When a party makes no objections, the Court need not review de novo the

proposed Findings and Recommendations. Bad Old Man v. Arn, 474 U.S. 140,

153-52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on January 5, 2021.

(Doc.63.) The United States accused Armitage of violating his conditions of
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supervised release 1) by failing to report for substance abuse testing; 2) by failing to

report for substance abuse treatment; 3) by failing to notify his probation officer of a

change in his living arraignments. (Doc. 55.)

       At the revocation hearing, Armitage admitted that he had violated the

conditions of his supervised release by 1) by failing to report for substance abuse

testing; 2) by failing to report for substance abuse treatment. Armitage denied alleged

violation 3. The government failed to satisfy its burden of proof with respect to

alleged violation 3. (Doc. 63.) Judge Johnston found that the violation Armitage

admitted proved to be serious and warranted revocation, and recommended that

Armitage receive a custodial sentence of time served, with 10 months of

supervised release to follow. Armitage was advised of the 14 day objection period

and his right to allocute before the undersigned. He waived those objections. (Doc.

63.)

       The violation proves serious and warrants revocation of Armitage’s

supervised release. The Court finds no clear error in Judge Johnston’s Findings and

Recommendations.

       Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 64) are ADOPTED IN FULL. IT IS FURTHER

ORDERED that Defendant David Lee Armitage be sentenced to a period of

custody of time served with 10 months supervised release to follow.
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DATED this 11th day of January, 2021.
